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                                COMMONWMETH O「            KENl｀ UCKY
                                  FAYETTE CIRCUIT COURT
                                        DIVISION
                            CiVIL ACl｀ ION  N0 19-CI

                                                                     FILED ELECTRONICALIχ
MARY                                                                                                PLAlNTIFF

VS                                        COMPLuNT

JOHN        CHllSLAK                                                                            DEFENl)ANT
                    VIA CERTIFIED MAII′
                    Restrided Deliverv
                    John W Chぃ lak
                        532 Marblerock Way
                        Lcxingrton,KY 40503



                                                                                                DEFENDANT

                        Thomas J. Marshall, Statutory Atent
                        General Counsel
                        United States Postal Service
                        475 L'Enfant Plaza SW
                        Washington, DC zoe6o-troo
                                   ■■      キ姜キキ   =■ ■■    ■キ
                                     =姜                         ==

             thc ),laintiff, Mary Riddle, by counsel, and for her Complaint against thc
      iomes
Defenddnts, John W. Chcslak, ancl thc Unitcd States Postal Service ("USPS"), her.eby

states ai fbuows:
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                        PARTIIS.JUluSDI∝ 10N AND VENUE
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       :i     l・   he Plainti■ Mav Riddle,Is and was at an times“ levant hereto,a citizen

ancl resiilent of ltayette Couuty, Kentucky.




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                                                              ndant」 ohn W.Cheslat(hereinater

                                                              ),a citizen and resident of Lexington,




        J                 DerendantcheslakwasanemployeeoftheUnitedStatesPostalSewiceon
the d証 Jofthecdlお                lonthatisthesubiectmatterofthisCompliant

        4                DefendantUnitedStatesPostalSorvice(“ USPS")is an entlty that is pal・ t of              ´
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theFcd11.al(〕 。verninellt ofthe t」 nited States ofAmeHca,and may bc sued purstiantto 39




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G期‖rHiw翌 選
Marshall

        5'               Venue iS pЮ perin this court boぬ use the ads and omissions gi宙 ng rise to          l
HJntilsCauSeofActionoccurred h豫 yett Counじ Kentucky.

                                                                       dthe Defendants hthヽ casc            l
        l Thお COu.maycК rdscjurMに Jon¨ reach
bocatlsdPlaintiffinitiated a Federal Tort ClaimsActclaim againstthe United states P∝              tal       ・

Sel・ vlce       On ol.about September 25,2017 WhiCh lvas within 2 yearS ofthe date ofPlaintuFs

alleged iniu‖
                          `S,an(lthe United&ates Poml SelMce has not accepted or denied Plaintifrs
FItt cれ m as ofthe date dぬ ヽ側職 ,whthヽ mOre than s破 months ttom Septem腱 r

25,2017,as a result,PlaintiFis now permitted to file a la“             uitin this Court                     ,

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lo establish thejurisdiction ofthis Court

            l                         FACrS                             3
        ■ Plainttt rcpeats,re― alleges,and rcasserts cach and evew allegauon                            :

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       91.        On or about December 22, 2015, Plaintiff wrus in a motor vehicle collision          in
          I


Fayette pounty.

        rh.
          I

                  Plaintiffs vehicle was rnaking a left turn flom Man-O-War Boulevatd ont<r
          I


.Iocasta lDrive.
          I
          I

        rf.       Defendant Chesla\ who was initially traveling eastbound on Jocasta Drive

rnadc a   p-tuln directly into Plaintiffs vehicle.
          I


        ril.      At thc time of the collision, Defeudant Cheslak was in the coume arld scope
          I

of his d$ties as a nrail carrier for the USPS.

          i
          I

                                              coLrNT'r
                                             NEGLIGENCE

        r!
          I

                  Plaintiff repeats, re-alleges, and reasserts each and cvery allegatiou
containixl within the preceding paragraphs as though set forth fully herein.

          t4.      Defendant Cheslak had a duty to exercise ordinary caro in the operation of
          I


his motor vehicle to avoid collisiou with other users ofthe t'oadway.

        $.        Defendant Cheslak failed to exercise ordinary care in the operation of his
          I


nrotor Vlhicle, and thereby, caused a collision with Plaintifts' vehicle.

        {''.       Defendant Cheslak's fuilure   t<>   exercise ordinary car:e constitutes negligence.

        n.        As a direct and proximate result of Defendarrt, Cheslax-s negligence          Plaintiff

sustainld severe and perrnanent lxrdily irrjuries.

                                              COUNT II
                                       RESPONDEAT SUPERIOR/
                                        ViCARIOUS LIABILITY
                                                                                                            ‘ＯＣＣ Ｏこ ﹄０ い０● ● ●●




        J8      Pl・ aintifF repeats,re‐ aneges,and reasserts each and evely alleg・                 atioll


∞ntained      Witllin the preceding paragraphs as thotlgh set forth ttlly herein




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                                                                                              ':(




                         I


                rf           .     Def'endant Cheslak lvas in the course and scope of bis employment with thu

         Defendlnt               USPS at   thc tirne ofthe collision.

                ,j,                Defendant Cheslak's duties as a USPS employee included, but were rrot

         limited {o, the           sat-e   operation of his USI,S vehicle.
                     i


                ,f.                Dctendant Cheslak was negligent in the exercise of his rluties and ther.eby
                     I

     caused ihjury to thc                   l'laintiff.
                     I




                +.                 Det'endant USPS        is vicariously liable for the               clarnages arising             out of
                     I

         Dctbndlnt Cheslak's negligent pcrtblmance of his duties.

                                                               C()【 I卜 Jl'III
                                              NEGI`EGENT HIRING,SUPERVIS10N
                                                    AND/OR R3rENT10N
                zh.                Plaintiff repeats, re-alleges, and reasserts each and every allegation
     containld within the preceding paraglaphs                       as   though set forth fully herein.

                24 1)efenぬ nt                                                                                           ng,training          i
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                                                 USPS had a duty to exercise ordinav carein the hi」

     譴ld/。 r lupelvlsion oftts empl仰 ℃es,ね dudhg Defendant Cheslak,to prevent ceaung                                                         i
     hazardslcaused by improper and negligent opemtion of USPS vohides on the ptiblic

     highwabls.

               2Ь
                                 Deindant USPS ttLd to exerdsc ordinaly care in thc hring,tranhg,
     and/Orluper宙 J° n ofDeた ndant Ch∝ hk,and such idur“                                            ∞ ■ltute
                                                                                                     l■        negligen∝        .




                26. As a drect and prOximate cause of Defendant USPS's negltenCe,Plaintir

     stlstainqd scvel℃ and permanont bodily inJury

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                 1                               CAIttAT10N…AND DAMAG鵬                                                                       替

                ψ                Phintif repeats,re‐ alleges,and reasse■ s each and evely allega■
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     ∞lltainld w1lin the preceding paragraphs as though setforth illy herein


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                       Past, present, aud firture rnental pain and suft'ering;
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                       Past, present, and future medical bills and medical cxpenses;
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                       Lost wagtls and lost earnings capacity;
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                       Actual, conscqucntial, incidental, and foreseeable damages;
             ｅ




                       Punitive damagcs; and
                ｉ




                       Attorney's fccs, <xrsf,s, pre- and post-judgment interest, and

                       expenses.

    WI{IiRItF'ORE, the Plaintiff, Mary Riddle, prays the Court           as   follows:

             r.        FoL a judgment against the Defendants,         with plaintiff reserving the
     righ t to advise the   trier.offact   as to   what amounts are fair and reasonable, as shown

     by the evidence;

            2.         For a trial cause by    a   jury;

            ll.        That she be awatdecl all her damages enumerated above, including

     aCtual, consequential, punitive, incidental andtbreseeable damages, her attor.neys'

     fiies, her costs, her expenses herein expended, prc-ju<lgment and post-judgrnent

     irlterest, and any and all cqu'itable reliefthat may be a1:propriate; and

            4        Alw other reliefto which this Court may be deenl hel.elltitled
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